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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                              Criminal Case No: 1:23-cr-124-ACR


UNITED STATES OF AMERICA,

v.

MICAH COOMER,

            Defendant.
_______________________________________/

               DEFENDANT COOMER'S SENTENCING MEMORANDUM

                            Service Record Documents Exhibit 3/C

The following service record documents are provided:

     1. Certificate of Appreciation

     2. Letter of Appreciation

     3. Schools Completed




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                                Respectfully submitted,

                                /s/ Phillip Stackhouse

                                Phillip Stackhouse
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